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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;23CA2002 Velgersdyk v Thompson Crossing 10-03-2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 23CA2002 &lt;/div&gt;
&lt;div&gt;Larimer County District Court No. 22CV30584&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Honorable Stephen J. Jouard, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Michael Velgersdyk and Amanda Velgersdyk, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Plaintiffs-Appellants, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Thompson Crossing II Association, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Defendant-Appellee. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;JUDGMENT AFFIRMED&lt;span&gt; AND CASE &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;REMANDED WITH DIRECTIONS&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division II &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE FOX &lt;/div&gt;
&lt;div&gt;Johnson and Schock, JJ., concur&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;NOT PUBLISHED PURSUANT TO C.A.R. 35(e) &lt;/div&gt;
&lt;div&gt;Announced October 3, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;March &amp;amp; Olive, LLC, Stewart W. Olive, Fort Collins, Colorado; Poudre Legal &lt;/div&gt;
&lt;div&gt;Advisors LLC, Daniel L. Sapienza, Fort Collins, Colorado, for Plaintiffs-&lt;/div&gt;
&lt;div&gt;Appellants &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Sutton Booker P.C., Joel S. Babcock, Matthew Cecil, Denver, Colorado, for &lt;/div&gt;
&lt;div&gt;Defendant-Appellee &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTPVKK2D5MG&amp;amp;Expires=1728612194&amp;amp;Signature=YpmWlG3DOTZiTr318GOF3%2Bd%2FYw8%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjECgaCXVzLWVhc3QtMSJGMEQCIByR36y1btH3K%2Fekud%2BdxJHcEecWT7eUvAWBHwYYgusJAiAtqAva948dM1X16OjvEgJhi5ZnvQiAGhpnkswdl0FsLiq6BQiB%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIMtc%2FJsybW0Q3JFJ8fKo4F45bPXoU7Wo74oIulLYhM9G4%2B0vVRyFQxvR%2FZIQ5J6AP3twoQSZCSUVSuXh571VEzr0etZoRA%2FvdJGWggmpijXHvwG2LZXIpz2KvghRd6%2BcVsZhlikuSqi%2BeqKlPoctF3Ef6%2FsnRAFhXRkkRIjTTZQbAHhV8IUJguQNT%2B7MM%2B4%2FqU8eMJirlaZO1RUfuXjei8nNz7aynWTWIBB8XhR%2BvcqKzruyoTPVGjvD6WT4otxn9YRiuFUM%2FHFbLqXVXpff%2Bk9C3wGoYkUVlmziGgIsw7iBT3rgAr7BtfadD35%2Bvp8nLkX8EqlfzuogUjUnGdURxIZnR2OVMXAQdZgIHWcuXXXpFWde3FHyaCs%2Ftr%2B%2BCDM33qDMY9aKC1VLuxqawi8wkskwfBnJFalWfIiGEoQszRY4j95Y2Wcw%2FtmpqB%2FPs0DheBVgifdq236K2EonuWpa6gi0b6s%2FGNO%2BZyRat3JcY1acBzxCB61ZgL3Oia3w%2FV3r2f%2F6oN9xhU0i%2BkMbW%2FDTWM%2F1TtF2mXGlUOagomuTDAOyzNhKWY%2BXgW2oOkgN%2FIzv5cc3UzoE9RhB2hFxpmyzYGtSCBcZRz%2BvJ3ZRmKSuwEq73M7wIB4pp4Pky8C9kines9gSXzvQ0pPfWx1E5feQ6VEB%2FGDsdo05cZKnWFa6Kxtosa%2Boo0NCzlyCIhLFEvidI91vDYT0YG%2FwoUu1z9OZUgLxG19rXL9fY%2F2sqvCupJ%2BmT1kbujNe7MpBXY4cJY0adH9Q%2BoilOOcBlRVdPyG%2FX6aATHXVUv5nrXuodbpJDEkMyyJZdFo%2F%2FjiCMsgDXhVbTn0OX2%2FL%2FPTwP%2BhYq6HdxD9Pe6CmgLQxQZS%2B1P3gelabVBL4HtHQueiULuKbg4MM7UobgGOrIBErRLH0bcDH5K%2FatVXBpqL%2FobpK9uwtl2o%2F4F8D9%2FxKM7CQbzy8UuTsjnshi8yQnJlIo%2BO57O0sHw3h1DfDHX40h9vMwFGtq2ifecRWdq7HmkgarJ1BdsWrylmWNj8BdhVnV5IZE9KdCFmiw%2BsdBEYrZVOZskuzIOd%2BQlFKYr%2BJuEdSHGFZJyEdnjKKre4YZvdckuYxOqP3d46AjauYe%2BICnPV1GjtWxahR9e610VoIj8JA%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;Plaintiffs, Michael and Amanda Velgersdyk, appeal portions of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the district court&lt;span&gt;â&lt;/span&gt;s judgment in favor of defendants, Dylan Trembl&lt;span&gt;&lt;/span&gt;ey &lt;/div&gt;
&lt;div&gt;and Voranan V. Karbacka, and defendant-appellee, Thompson &lt;/div&gt;
&lt;div&gt;Crossing II Association (the HOA).&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  We affirm the judgment of the &lt;/div&gt;
&lt;div&gt;district court&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;This appeal arises out of a dispute in Johnstown, Colorado, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;between the Velgersdyks&lt;span&gt;, &lt;/span&gt;their neighbors Trembley and Karbacka&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and the&lt;span&gt;ir&lt;/span&gt; HOA, over water drainage onto the &lt;span&gt;Velgersdyksâ&lt;/span&gt; property.  &lt;/div&gt;
&lt;div&gt;In the &lt;span&gt;Velgersdyksâ&lt;/span&gt; compl&lt;span&gt;ai&lt;/span&gt;nt, they alleg&lt;span&gt;e &lt;/span&gt;that Tremble&lt;span&gt;y &lt;/span&gt;altere&lt;span&gt;&lt;/span&gt;d the &lt;/div&gt;
&lt;div&gt;grading and drainage pattern of his backyard and relocated the &lt;/div&gt;
&lt;div&gt;drainage point for his sump pump, causing significantly &lt;span&gt;&lt;/span&gt;more water &lt;/div&gt;
&lt;div&gt;to enter the Velgersdyks&lt;span&gt;â&lt;/span&gt; property.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Velgersdyks also alleged the HOA overwatered and failed &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to maintain a grassy swale in the subdivision behind the &lt;/div&gt;
&lt;div&gt;Velgersdyks&lt;span&gt;â&lt;/span&gt;&lt;span&gt; and Trembley &lt;span&gt;and Karbackaâs&lt;/span&gt; property&lt;span&gt;, &lt;/span&gt;Outlot B&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;which increased groundwater on the property&lt;span&gt;.  &lt;/span&gt;Finally, they alleged &lt;/div&gt;
&lt;div&gt;that the HOA failed to enforce portions of the contract between t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt; Trembley and Karbacka did not file an answer brief.   &lt;/div&gt;&lt;/div&gt;
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&lt;div id="pf3" data-page-no="3"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;HOA and homeowners &lt;span&gt;â&lt;/span&gt; the &lt;span&gt;âDeclaration of Covenants, Conditions,&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Restrictions, and Easementsâ (the Declaration)&lt;span&gt; &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; prohibiting &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;alterations to grading and drainage on homeowner&lt;span&gt;sâ&lt;/span&gt; properties&lt;span&gt;.  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;In August 2022, the Velgersdyks sued Trembley and Karbacka &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;for negligence and trespass/nuisance for the alleged grading &lt;/div&gt;
&lt;div&gt;alterations and sump pump drainage issues&lt;span&gt;, &lt;/span&gt;and for breach of &lt;/div&gt;
&lt;div&gt;contract for Trembley &lt;span&gt;and Karbackaâs&lt;/span&gt; alleged violations of the &lt;/div&gt;
&lt;div&gt;Declaration, requesting damages and a permanent injunction&lt;span&gt;.  &lt;/span&gt;The &lt;/div&gt;
&lt;div&gt;Velgersdyks also&lt;span&gt; &lt;/span&gt;sued the HOA &lt;span&gt;for&lt;/span&gt;&lt;span&gt; &lt;/span&gt;negligence and &lt;/div&gt;
&lt;div&gt;trespass/nuisance for overwatering Outlot B and for breach of the &lt;/div&gt;
&lt;div&gt;Declaration, requesting damages and a permanent injunction.  The &lt;/div&gt;
&lt;div&gt;district court held a three-day bench trial. &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;To start, there was conflicting testimony about the amount of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;water present in Outlot B.  At trial, &lt;span&gt;a &lt;/span&gt;landscaping company &lt;/div&gt;
&lt;div&gt;manager the HOA had contracted with since 2017, Joseph &lt;/div&gt;
&lt;div&gt;Potkanowicz, testified that Outlot B is located directly behind bot&lt;span&gt;&lt;/span&gt;h &lt;/div&gt;
&lt;div&gt;the &lt;span&gt;Velgersdyksâ&lt;/span&gt; and Trembley &lt;span&gt;and Karbackaâs&lt;/span&gt; properties&lt;span&gt;. &lt;/span&gt; &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;Outlot B is a greenway area running between two sets of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;homes &lt;span&gt;that created a ânatural drainage swaleâ â&lt;/span&gt; &lt;span&gt;a &lt;/span&gt;shallow grassy &lt;/div&gt;
&lt;div&gt;ditch &lt;span&gt;â&lt;/span&gt; that collect&lt;span&gt;ed&lt;/span&gt; water &lt;span&gt;to&lt;/span&gt; direct it to a nearby street&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div id="pf4" data-page-no="4"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;Potkanowicz testified that he was aware of several complaints in &lt;/div&gt;
&lt;div&gt;2017 and 2018 about standing water in Outlo&lt;span&gt;t B&lt;/span&gt;, which resulted in &lt;/div&gt;
&lt;div&gt;temporarily halting irrigation to the area.  Potkanowicz&lt;span&gt; &lt;/span&gt;testified that &lt;/div&gt;
&lt;div&gt;by 2019, once the grass and landscaping in Outlot B became m&lt;span&gt;&lt;/span&gt;ore &lt;/div&gt;
&lt;div&gt;established, the issue was resolved.&lt;span&gt;  &lt;/span&gt;According to&lt;span&gt; &lt;/span&gt;Potkanowicz, he &lt;/div&gt;
&lt;div&gt;never saw evidence of water leaving Outlot B onto any resi&lt;span&gt;&lt;/span&gt;dent&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;property.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;Michael&lt;span&gt; &lt;/span&gt;&lt;span&gt;Velgersdyk testified, however, that the area was often &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âmushyâ &lt;span&gt;and standing water was consistently present.&lt;span&gt;  &lt;/span&gt;Conversely,&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Dylan&lt;span&gt; &lt;span&gt;Trembley testified that Outlot B had not had standing wate&lt;span&gt;&lt;/span&gt;r &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;issues since 2018.  Michael Velgersdyk conceded that after the HOA &lt;/div&gt;
&lt;div&gt;reduced its watering of Outlot B, his &lt;span&gt;sump pump ran âabout 5&lt;span&gt;&lt;/span&gt;0% &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;lessâ than before.  A defense expert, James Whipple, testified &lt;span&gt;&lt;/span&gt;that &lt;/div&gt;
&lt;div&gt;the &lt;span&gt;Velgersdyksâ&lt;/span&gt; sump pump likely ran so often because their home &lt;/div&gt;
&lt;div&gt;was too close to the groundwater table below.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;There was also conflicting testimony about the alleged changes &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to Trembley &lt;span&gt;and Karbackaâs &lt;/span&gt;&lt;span&gt;grading&lt;/span&gt;&lt;span&gt;.  T&lt;/span&gt;he district court asked &lt;/div&gt;
&lt;div&gt;Michael Velgersdyk what specific changes he believed occurre&lt;span&gt;&lt;/span&gt;d to &lt;/div&gt;
&lt;div&gt;Trembley &lt;span&gt;and Karbackaâs&lt;/span&gt; grading, and Velgersdyk said he believed &lt;/div&gt;
&lt;div&gt;Trembley âflattenedâ his yard, which caused âprobably 75&lt;span&gt;&lt;/span&gt;%â of the &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div id="pf5" data-page-no="5"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;water that entered Trembley &lt;span&gt;and Karbackaâs&lt;/span&gt; backyard to flow &lt;/div&gt;
&lt;div&gt;directly onto his property, rather than draining to the pr&lt;span&gt;&lt;/span&gt;operties on &lt;/div&gt;
&lt;div&gt;each side of Trembley &lt;span&gt;and Karbackaâs&lt;/span&gt; yard equally.  Dylan &lt;/div&gt;
&lt;div&gt;Trembley testified that he never altered the grade or drainage &lt;span&gt;&lt;/span&gt;on his &lt;/div&gt;
&lt;div&gt;property, however, save for relocating his sump pump d&lt;span&gt;&lt;/span&gt;rainpipe to &lt;/div&gt;
&lt;div&gt;the lot line with the Velgersdyks&lt;span&gt;.  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;The &lt;span&gt;Velgersdyksâ&lt;/span&gt; expert Dennis Messner &lt;span&gt;â&lt;/span&gt; &lt;span&gt;admitted as âan &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;expert in civil engineering with expertise related to grading,&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;drainage and groundwater issuesâ&lt;span&gt; &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; testified that the biggest &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;change he could see to Trembley &lt;span&gt;and Karbackaâs &lt;/span&gt;property that &lt;/div&gt;
&lt;div&gt;might affect its drainage patterns was the placement of rocks t&lt;span&gt;&lt;/span&gt;hat &lt;/div&gt;
&lt;div&gt;created a path for water to drain onto the &lt;span&gt;Velgersdyksâ&lt;/span&gt; property&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The rocks also created a rock berm facing Outlot B that &lt;span&gt;&lt;/span&gt;would &lt;/div&gt;
&lt;div&gt;direct water into the &lt;span&gt;Velgersdyksâ&lt;/span&gt; property.  But Messner co&lt;span&gt;&lt;/span&gt;uld not &lt;/div&gt;
&lt;div&gt;tell if Trembley &lt;span&gt;and Karbackaâs &lt;/span&gt;yard had been flattened or raised &lt;/div&gt;
&lt;div&gt;and noted&lt;span&gt;, &lt;/span&gt;when examining the property&lt;span&gt;âs original âspot elevation &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;exhibit,â&lt;span&gt; that &lt;span&gt;âthe flow adjacent to the patio is fairly c&lt;span&gt;&lt;/span&gt;onsistent with &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;what was [there] &lt;span&gt;originally.â  Whipple testified that, based &lt;/span&gt;&lt;span&gt;on&lt;/span&gt; &lt;span&gt;&lt;/span&gt;his &lt;/div&gt;
&lt;div&gt;observation of the property, the grading on Trembley and &lt;/div&gt;
&lt;div&gt;Karbackaâs &lt;span&gt;property had not been changed.   &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div id="pf6" data-page-no="6"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;As &lt;span&gt;for&lt;/span&gt; the relocation of Trembley &lt;span&gt;and Karbackaâs &lt;/span&gt;sump pump &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;drainage&lt;span&gt;, &lt;span&gt;the Velgersdyks introduced several photos indicating that&lt;span&gt;&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;a sump pump drainpipe at their shared fence line was draining &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;significant amount of water onto their property.&lt;span&gt;  &lt;/span&gt;Mitigating this &lt;/div&gt;
&lt;div&gt;additional water from the sump pump drain required building &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;trench and installing a new drainage system&lt;span&gt;.  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;Dylan&lt;span&gt; &lt;span&gt;Trembley testified that he never told the HOA about&lt;span&gt;&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;moving his sump pump drainpipe, request&lt;span&gt;ed&lt;/span&gt; approval to do s&lt;span&gt;&lt;/span&gt;o, or &lt;/div&gt;
&lt;div&gt;spoke with Kellison Corp. (Kellison), the HOA&lt;span&gt;â&lt;/span&gt;s property &lt;/div&gt;
&lt;div&gt;management company, about the matter.  Jeremy Woods, an HO&lt;span&gt;&lt;/span&gt;A &lt;/div&gt;
&lt;div&gt;manager with Kellison, testified that he was never told about t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;repositioning of Trembley &lt;span&gt;and Karbackaâs &lt;/span&gt;sump pump drain.  An &lt;/div&gt;
&lt;div&gt;HOA board member who lived across the street from the &lt;/div&gt;
&lt;div&gt;Velgersdyks testified that he regularly &lt;span&gt;saw&lt;/span&gt; water on the sidewalk &lt;/div&gt;
&lt;div&gt;outside the &lt;span&gt;Velgersdyksâ&lt;/span&gt; house, and knew it was from a sump &lt;/div&gt;
&lt;div&gt;pump, but &lt;span&gt;he&lt;/span&gt; did not specify whether he was aware that Trembley &lt;/div&gt;
&lt;div&gt;had relocat&lt;span&gt;ed&lt;/span&gt; his drainage pipe.   &lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;After trial concluded, the district court issued its findings of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;fact and conclusions of law.  The court found that the Velgers&lt;span&gt;&lt;/span&gt;dyks &lt;/div&gt;
&lt;div&gt;had failed to prove by a preponderance of the evidence t&lt;span&gt;&lt;/span&gt;hat the &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf7" data-page-no="7"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;HOA&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;span&gt;overwatering of Outlot B had contributed to the incre&lt;span&gt;&lt;/span&gt;ase in &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;groundwater under their property.  As to the alleged regra&lt;span&gt;&lt;/span&gt;ding of &lt;/div&gt;
&lt;div&gt;Trembley &lt;span&gt;and Karbackaâs &lt;/span&gt;property, the court found that the &lt;/div&gt;
&lt;div&gt;Velgersdyks had failed to prove by a preponderance of t&lt;span&gt;&lt;/span&gt;he evidence &lt;/div&gt;
&lt;div&gt;that Trembley&lt;span&gt;â&lt;/span&gt;s landscaping had altered drainage patterns &lt;span&gt;on&lt;/span&gt; his &lt;/div&gt;
&lt;div&gt;property.  However, the court found that the sump pump drain &lt;/div&gt;
&lt;div&gt;relocation caused the &lt;span&gt;Vel&lt;/span&gt;gersdyks damages because it require&lt;span&gt;&lt;/span&gt;d the &lt;/div&gt;
&lt;div&gt;installation of the new drainage system, resulting in $6,18&lt;span&gt;&lt;/span&gt;5.66 of &lt;/div&gt;
&lt;div&gt;costs &lt;span&gt;â&lt;/span&gt; though the evidence did not show the HOA was aware of &lt;/div&gt;
&lt;div&gt;Trembley&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s actions&lt;span&gt;.  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;The court next reached three conclusions of law.  First, as to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the negligence claims against the HOA and Trembley and Karbacka&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;it concluded that the Velgersdyks failed to prove that the &lt;span&gt;&lt;/span&gt;HOA &lt;/div&gt;
&lt;div&gt;breached a duty to maintain Outlot B, but that Tremble&lt;span&gt;y &lt;/span&gt;and &lt;/div&gt;
&lt;div&gt;Karbacka committed negligence and breached a legal duty that &lt;/div&gt;
&lt;div&gt;caused damages by relocating their sump pump drainage.&lt;span&gt;  &lt;/span&gt;Second, &lt;/div&gt;
&lt;div&gt;for trespass and nuisance, the court ruled that the Velgersdyks &lt;/div&gt;
&lt;div&gt;failed to prove that the HOA&lt;span&gt;â&lt;/span&gt;s actions constituted a nuisanc&lt;span&gt;&lt;/span&gt;e or &lt;/div&gt;
&lt;div&gt;trespass that caused any damages, but it ruled that the &lt;/div&gt;
&lt;div&gt;Velgersdyks established the claim for trespass and nuisance again&lt;span&gt;&lt;/span&gt;st &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;Trembley and Karbacka for their sump pump relocation&lt;span&gt;. &lt;span&gt; &lt;/span&gt;&lt;/span&gt;And third, &lt;/div&gt;
&lt;div&gt;for the breach of contract claims the court decided that the &lt;/div&gt;
&lt;div&gt;Velgersdyks failed to prove that the HOA breached the Declaration &lt;/div&gt;
&lt;div&gt;by overwatering Outlot B and, because it was not informed of &lt;/div&gt;
&lt;div&gt;Trembley and Karbacka&lt;span&gt;âs&lt;/span&gt; sump pump drain relocation&lt;span&gt;, &lt;/span&gt;the HOA did &lt;/div&gt;
&lt;div&gt;not permit a nuisance.  The court also found that Trembley and &lt;/div&gt;
&lt;div&gt;Karbacka had not altered the grading or drainage on their property &lt;/div&gt;
&lt;div&gt;and had not breached the Declaration.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;As a result, the court entered judgment in favor of the HOA &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and Trembley and Karbacka for every claim, save for the negli&lt;span&gt;&lt;/span&gt;gence, &lt;/div&gt;
&lt;div&gt;trespass, and nuisance claims against Trembley and Karbacka &lt;span&gt;for&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;relocating the sump pump drain, and ordered Tremble&lt;span&gt;y &lt;/span&gt;and &lt;/div&gt;
&lt;div&gt;Karbacka to pay the Velgersdyks $6,185.66 in damages.  The &lt;/div&gt;
&lt;div&gt;district court declined to order injunctive relief.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Velgersdyks and the HOA moved to recover attorney fees &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and costs, with the Velgersdyks requesting $11,623.97&lt;span&gt; &lt;/span&gt;and the &lt;/div&gt;
&lt;div&gt;HOA requesting $80,893.11 ($59,388.50 in attorney fees and &lt;/div&gt;
&lt;div&gt;$21,594.61 in costs)&lt;span&gt;.  &lt;/span&gt;The district court found that some of the &lt;/div&gt;
&lt;div&gt;HOA&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;span&gt;requested attorney fees were not reasonably necessa&lt;span&gt;&lt;/span&gt;ry for &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the disposition of the case and excluded them (and some costs)&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt;But&lt;span&gt; because the HOA&lt;span&gt;â&lt;/span&gt;s requested attorney fees were reasonabl&lt;span&gt;&lt;/span&gt;e &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;overall and the &lt;span&gt;Velgersdyksâ&lt;/span&gt; &lt;span&gt;claims were âessentially &lt;/span&gt;based up&lt;span&gt;&lt;/span&gt;on &lt;/div&gt;
&lt;div&gt;the same set of operative facts to establish liability&lt;span&gt;â &lt;/span&gt;and could not &lt;/div&gt;
&lt;div&gt;be apportioned, &lt;span&gt;it&lt;/span&gt; granted the HOA $56,674.99 in attorney fee&lt;span&gt;&lt;/span&gt;s and &lt;/div&gt;
&lt;div&gt;$19,299.19 in costs for a total award of $75,974.18&lt;span&gt;. &lt;/span&gt; The district &lt;/div&gt;
&lt;div&gt;court denied the &lt;span&gt;Velgersdyksâ&lt;/span&gt; request.  The Velgersdyks filed this &lt;/div&gt;
&lt;div&gt;appeal&lt;span&gt;.  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Issues Raised on Appeal &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;On appeal the Velgersdyks raise three issues, arguing that&lt;span&gt;&lt;/span&gt; the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;district court erred by (1) failing to address whether Trem&lt;span&gt;&lt;/span&gt;bley and &lt;/div&gt;
&lt;div&gt;Karbacka had breached the Declaration by creating a nuisance an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;finding that they had not breached the Declaration prohibiting &lt;/div&gt;
&lt;div&gt;drainage pattern alterations despite having relocated their sump &lt;/div&gt;
&lt;div&gt;pump drain; (2) excluding, for lack of foundation, a stamped drone &lt;/div&gt;
&lt;div&gt;survey report relied upon by the &lt;span&gt;Velgersdyksâ&lt;/span&gt; expert; and&lt;span&gt; &lt;/span&gt;(3) failing &lt;/div&gt;
&lt;div&gt;to find the HOA liable for breach of the Declaration for not &lt;/div&gt;
&lt;div&gt;remedying a nuisance on the grounds that the HOA did not &lt;span&gt;&lt;/span&gt;know &lt;/div&gt;
&lt;div&gt;about the sump pump drainage relocation.  Alternatively, the &lt;/div&gt;
&lt;div&gt;Velgersdyks argue that the district court erred by awarding the &lt;/div&gt;
&lt;div&gt;HOA attorney fees and costs without apportioning the fees by claim&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;9 &lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Analysis  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;Breach of Contract Claims  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Velgersdyks first argue that the district court erred by not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;finding that Trembley and Karbacka breached the Declaration &lt;span&gt;by&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;maintaining a nuisance and altering their property&lt;span&gt;â&lt;/span&gt;s drainage &lt;/div&gt;
&lt;div&gt;patterns. &lt;span&gt; &lt;/span&gt;The Velgersdyks contend that because the district court &lt;/div&gt;
&lt;div&gt;found that Trembley and Karbacka had committed a trespass &lt;span&gt;or &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;nuisance by relocating the sump pump drainage&lt;span&gt;, &lt;/span&gt;Trembley and &lt;/div&gt;
&lt;div&gt;Karbacka necessarily violated Declaration section 8.23&lt;span&gt;â&lt;/span&gt;s pr&lt;span&gt;&lt;/span&gt;ohibition &lt;/div&gt;
&lt;div&gt;on maintaining nuisances and that the district court erred by n&lt;span&gt;&lt;/span&gt;ot &lt;/div&gt;
&lt;div&gt;addressing this issue.&lt;span&gt;  &lt;/span&gt;The Velgersdyks also argue that the district &lt;/div&gt;
&lt;div&gt;court interpreted Declaration section 8.24&lt;span&gt;â&lt;/span&gt;s prohibition on grading &lt;/div&gt;
&lt;div&gt;and drainage alterations too narrowly in finding that Trembley and &lt;/div&gt;
&lt;div&gt;Karbacka &lt;span&gt;ha&lt;/span&gt;d not committed a breach because they had not &lt;/div&gt;
&lt;div&gt;modified &lt;span&gt;â&lt;/span&gt;the topography or contour of any drainage area in &lt;/div&gt;
&lt;div&gt;completing [their] landscape plan.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;The HOA, in turn, contends that the Velgersdyks did not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;preserve the issue of whether Trembley and Karbacka breached &lt;/div&gt;
&lt;div&gt;section 8.23 because the Velgersdyks did not raise it in their &lt;/div&gt;
&lt;div&gt;complaint or their proposed findings of fact and conclusions &lt;span&gt;&lt;/span&gt;of law.  &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;10 &lt;/div&gt;
&lt;div&gt;As to section 8.24, the HOA argues that the district court&lt;span&gt;â&lt;/span&gt;s factual &lt;/div&gt;
&lt;div&gt;findings have record support and merit deference, and regardless, &lt;/div&gt;
&lt;div&gt;the HOA did not breach the Declaration.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Section 8.23 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Declaration&lt;span&gt;â&lt;/span&gt;s prohibition of nuisances in section 8.23 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;provides: &lt;/div&gt;
&lt;div&gt;No obnoxious or offensive activity shall be &lt;/div&gt;
&lt;div&gt;carried on upon any Lot or the Common Area, &lt;/div&gt;
&lt;div&gt;nor shall anything be done thereon which may &lt;/div&gt;
&lt;div&gt;be, or may become, an annoyance or nuisance &lt;/div&gt;
&lt;div&gt;to any other Owner.  Nothing contained herein &lt;/div&gt;
&lt;div&gt;shall be construed as prohibiting or restricting &lt;/div&gt;
&lt;div&gt;construction activities by Declarant at any &lt;/div&gt;
&lt;div&gt;time, seven (7) days per week. &lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;To start, the Velgersdyks did not sufficiently raise the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;argument that Trembley and Karbacka breached section 8.23 wit&lt;span&gt;&lt;/span&gt;h &lt;/div&gt;
&lt;div&gt;the district court; thus, this issue is &lt;span&gt;un&lt;/span&gt;preserved.  &lt;span&gt;See Gebert&lt;span&gt;&lt;/span&gt; v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Sears, Roebuck &amp;amp; Co.&lt;span&gt;, 2023 COA 107, Â¶ 25.  The complaint only &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;references section 8.23 in the âfacts and allegationsâ section, &lt;span&gt;&lt;/span&gt;noting &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;Section 8.23 of the Declaration provides that no owner may do &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;anything on their property which may be, or may become, an &lt;/div&gt;
&lt;div&gt;annoyance or nuisance to any other owner.&lt;span&gt;â  But &lt;/span&gt;the &lt;span&gt;Velgersdyksâ&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;breach of contract claim against Trembley and Karbacka only &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTPVKK2D5MG&amp;amp;Expires=1728612194&amp;amp;Signature=YpmWlG3DOTZiTr318GOF3%2Bd%2FYw8%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjECgaCXVzLWVhc3QtMSJGMEQCIByR36y1btH3K%2Fekud%2BdxJHcEecWT7eUvAWBHwYYgusJAiAtqAva948dM1X16OjvEgJhi5ZnvQiAGhpnkswdl0FsLiq6BQiB%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIMtc%2FJsybW0Q3JFJ8fKo4F45bPXoU7Wo74oIulLYhM9G4%2B0vVRyFQxvR%2FZIQ5J6AP3twoQSZCSUVSuXh571VEzr0etZoRA%2FvdJGWggmpijXHvwG2LZXIpz2KvghRd6%2BcVsZhlikuSqi%2BeqKlPoctF3Ef6%2FsnRAFhXRkkRIjTTZQbAHhV8IUJguQNT%2B7MM%2B4%2FqU8eMJirlaZO1RUfuXjei8nNz7aynWTWIBB8XhR%2BvcqKzruyoTPVGjvD6WT4otxn9YRiuFUM%2FHFbLqXVXpff%2Bk9C3wGoYkUVlmziGgIsw7iBT3rgAr7BtfadD35%2Bvp8nLkX8EqlfzuogUjUnGdURxIZnR2OVMXAQdZgIHWcuXXXpFWde3FHyaCs%2Ftr%2B%2BCDM33qDMY9aKC1VLuxqawi8wkskwfBnJFalWfIiGEoQszRY4j95Y2Wcw%2FtmpqB%2FPs0DheBVgifdq236K2EonuWpa6gi0b6s%2FGNO%2BZyRat3JcY1acBzxCB61ZgL3Oia3w%2FV3r2f%2F6oN9xhU0i%2BkMbW%2FDTWM%2F1TtF2mXGlUOagomuTDAOyzNhKWY%2BXgW2oOkgN%2FIzv5cc3UzoE9RhB2hFxpmyzYGtSCBcZRz%2BvJ3ZRmKSuwEq73M7wIB4pp4Pky8C9kines9gSXzvQ0pPfWx1E5feQ6VEB%2FGDsdo05cZKnWFa6Kxtosa%2Boo0NCzlyCIhLFEvidI91vDYT0YG%2FwoUu1z9OZUgLxG19rXL9fY%2F2sqvCupJ%2BmT1kbujNe7MpBXY4cJY0adH9Q%2BoilOOcBlRVdPyG%2FX6aATHXVUv5nrXuodbpJDEkMyyJZdFo%2F%2FjiCMsgDXhVbTn0OX2%2FL%2FPTwP%2BhYq6HdxD9Pe6CmgLQxQZS%2B1P3gelabVBL4HtHQueiULuKbg4MM7UobgGOrIBErRLH0bcDH5K%2FatVXBpqL%2FobpK9uwtl2o%2F4F8D9%2FxKM7CQbzy8UuTsjnshi8yQnJlIo%2BO57O0sHw3h1DfDHX40h9vMwFGtq2ifecRWdq7HmkgarJ1BdsWrylmWNj8BdhVnV5IZE9KdCFmiw%2BsdBEYrZVOZskuzIOd%2BQlFKYr%2BJuEdSHGFZJyEdnjKKre4YZvdckuYxOqP3d46AjauYe%2BICnPV1GjtWxahR9e610VoIj8JA%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;11 &lt;/div&gt;
&lt;div&gt;mentions section 8.24 and &lt;span&gt;alleges that Trembley âbreached the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;terms of the Declaration by altering the grading and &lt;span&gt;&lt;/span&gt;drainage areas &lt;/div&gt;
&lt;div&gt;of [the] property without first obtaining permission f&lt;span&gt;&lt;/span&gt;rom the Design &lt;/div&gt;
&lt;div&gt;Review Committee of the Association.â  &lt;span&gt;And in the &lt;/span&gt;&lt;span&gt;Velgersdyksâ&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;proposed and rebuttal findings of fact and conclusions of law, &lt;/div&gt;
&lt;div&gt;submitted after trial, section 8.23 is never mentioned in connecti&lt;span&gt;&lt;/span&gt;on &lt;/div&gt;
&lt;div&gt;with the breach of contract claims.  Oddly, section 8.23 is &lt;/div&gt;
&lt;div&gt;mentioned in the &lt;span&gt;Velgersdyksâ&lt;/span&gt; trial brief on breach of contract but &lt;/div&gt;
&lt;div&gt;section 8.24 is not.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;But again, the trial brief does no more than &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;paraphrase section 8.23 without alleging that Trembley and &lt;/div&gt;
&lt;div&gt;Karbacka breached that provision.&lt;span&gt;  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;/span&gt;&lt;span&gt;The district court was aware of section 8.23 and the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Velgersdyks cited it intermittently, but section 8.23 was not offered &lt;/div&gt;
&lt;div&gt;as a &lt;span&gt;ground for the &lt;span&gt;Velgersdyksâ&lt;/span&gt; breach of contract claims in &lt;span&gt;&lt;/span&gt;the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;two critical documents &lt;span&gt;â&lt;/span&gt; the complaint and proposed findings of&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;fact and conclusions of law &lt;span&gt;â&lt;/span&gt; while section 8.24 was.  &lt;span&gt;&lt;/span&gt;Thus, the &lt;/div&gt;
&lt;div&gt;district court was not fully presented with the sum and s&lt;span&gt;&lt;/span&gt;ubstance &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; The stipulated facts of the &lt;span&gt;Velgersdyksâ&lt;/span&gt; proposed trial &lt;/div&gt;
&lt;div&gt;management orders quote section 8.24 in its entirety but repeat &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;same language concerning section 8.23 from the complaint.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pfc" data-dest-detail='[12,"XYZ",69,121,null]'&gt;&lt;div style="border-style:none;position:absolute;left:256.194444px;bottom:542.033333px;width:10.080000px;height:32.860000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;/div&gt;
&lt;div id="pfd" data-page-no="d"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;12 &lt;/div&gt;
&lt;div&gt;of the &lt;span&gt;Velgersdyksâ&lt;/span&gt; argument under section 8.23, and we &lt;span&gt;&lt;/span&gt;may not &lt;/div&gt;
&lt;div&gt;address this argument for the first time on appeal.  &lt;span&gt;See Gebert&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ &lt;span&gt;25&lt;/span&gt;&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;/span&gt;&lt;span&gt;Even had this issue been preserved, however, any error would &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;have been harmless because the outcome would have been the &lt;/div&gt;
&lt;div&gt;same regardless&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See &lt;/span&gt;C.R.C.P. 61.  The district court had already &lt;/div&gt;
&lt;div&gt;awarded the Velgersdyks $6,185.66 in damages to compensate &lt;/div&gt;
&lt;div&gt;them for the trespass or nuisance and the costs of installing a new &lt;/div&gt;
&lt;div&gt;drainage system after Trembley relocated the sump pump drain&lt;span&gt;.  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;span&gt;â&lt;span&gt;The measure of damages in a breach of contract action is t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;amount it takes to place the plaintiff in the position it would ha&lt;span&gt;&lt;/span&gt;ve &lt;/div&gt;
&lt;div&gt;occupied had the breach not occurred.&lt;span&gt;â  &lt;span&gt;Technics, LLC v. Acoust&lt;span&gt;&lt;/span&gt;ic &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Mktg. Rsch. Inc.&lt;span&gt;, 179 P.3d 123, 126 (Colo. App. 200&lt;span&gt;&lt;/span&gt;7), &lt;span&gt;aff&lt;span&gt;â&lt;/span&gt;&lt;span&gt;d&lt;/span&gt;&lt;/span&gt;, 198 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.3d 96 (Colo. 2008)&lt;span&gt;.  &lt;/span&gt;Even assuming a breach did occur, the &lt;/div&gt;
&lt;div&gt;damages awarded on the other claims placed the Velgersdyks in the &lt;/div&gt;
&lt;div&gt;same position they would have been in had the breach not &lt;/div&gt;
&lt;div&gt;occurred, and they may not receive duplicative damages for &lt;/div&gt;
&lt;div&gt;Trembley&lt;span&gt;âs &lt;span&gt;actions.  &lt;span&gt;See Schuessler v. Wolter&lt;/span&gt;, 2012 COA 86, Â¶ 63 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(âA plaintiff generally may not receive a double recovery fo&lt;span&gt;&lt;/span&gt;r the &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfe" data-page-no="e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;13 &lt;/div&gt;
&lt;div&gt;same wrong.â).  &lt;span&gt;Thus, any presumed error in this matter &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; even if &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;preserved &lt;span&gt;â&lt;/span&gt; would be harmless.   &lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;Section 8.24 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;/span&gt;&lt;span&gt;The district court found that Trembley and Karbacka did not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;breach section 8.24&lt;span&gt;, titled âDrainage and Irrigation,â&lt;/span&gt; because they &lt;/div&gt;
&lt;div&gt;did &lt;span&gt;not alter the âtopography &lt;/span&gt;or contour of any drainage area&lt;span&gt;â&lt;/span&gt; on &lt;/div&gt;
&lt;div&gt;their property.&lt;span&gt;  &lt;/span&gt;The Velgersdyks contend that by relocating the &lt;/div&gt;
&lt;div&gt;sump pump drainage, however, Trembley modified the âdrainag&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;patternâ on &lt;span&gt;Trembley &lt;/span&gt;and Karbackaâs &lt;span&gt;land, and that the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Declaration, when read as a whole, implies that section 8.24 &lt;/div&gt;
&lt;div&gt;prohibits more than topographical changes.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 25&lt;span&gt; &lt;/span&gt;&lt;span&gt;Section 8.24 provides:   &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;No Owner shall modify or change the &lt;/div&gt;
&lt;div&gt;topography or contour of any drainage areas or &lt;/div&gt;
&lt;div&gt;easements, including swales, constructed on &lt;/div&gt;
&lt;div&gt;the Lots and other portions of the Property &lt;/div&gt;
&lt;div&gt;from the shape and outline established by the &lt;/div&gt;
&lt;div&gt;Declarant or Persons or entities acting on &lt;/div&gt;
&lt;div&gt;behalf of the Declarant; provided, however, &lt;/div&gt;
&lt;div&gt;than [sic] an Owner shall be permitted to &lt;/div&gt;
&lt;div&gt;modify the drainage areas on his or her Lot &lt;/div&gt;
&lt;div&gt;upon receiving written approval therefore from &lt;/div&gt;
&lt;div&gt;the DRC.  Any Owner who in any way &lt;/div&gt;
&lt;div&gt;materially modifies the drainage pattern on the &lt;/div&gt;
&lt;div&gt;land without such consent shall be subject to &lt;/div&gt;
&lt;div&gt;sanctions contained herein for violations of &lt;/div&gt;
&lt;div&gt;this Declaration.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pff" data-page-no="f"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;14 &lt;/div&gt;
&lt;div&gt;The Velgersdyks contend the final sentence &lt;span&gt;â&lt;/span&gt; along with &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;Declaration&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s general purpose &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; prohibits actions like moving &lt;span&gt;&lt;/span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;sump pump drain.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 26&lt;span&gt; &lt;/span&gt;&lt;span&gt;We review covenants and recorded instruments de novo and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;interpret them in their entirety, not by looking at particular cla&lt;span&gt;&lt;/span&gt;uses &lt;/div&gt;
&lt;div&gt;in isolation, in an effort to ensure that all provisions are giv&lt;span&gt;&lt;/span&gt;en effect &lt;/div&gt;
&lt;div&gt;and none are rendered meaningless.  &lt;span&gt;FD Ints., LLC v. Fairways&lt;span&gt;&lt;/span&gt; at &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Buffalo Run Homeowners Ass&lt;span&gt;â&lt;/span&gt;&lt;span&gt;n&lt;/span&gt;&lt;span&gt;, 2019 COA 148, Â¶ 23.  We wi&lt;span&gt;&lt;/span&gt;ll &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;enforce recorded instruments as they are written and give t&lt;span&gt;&lt;/span&gt;heir &lt;/div&gt;
&lt;div&gt;words and phrases their common meanings if the instrument is &lt;/div&gt;
&lt;div&gt;clear, with any ambiguities strictly construed against the drafter. &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Id. &lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 27&lt;span&gt; &lt;/span&gt;&lt;span&gt;We agree with the district court that section 8.24 concern&lt;span&gt;&lt;/span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;modifications of topography and the contours of the land, and &lt;span&gt;&lt;/span&gt;does &lt;/div&gt;
&lt;div&gt;not encompass actions like relocating a sump pump drain.  The &lt;/div&gt;
&lt;div&gt;first sentence of section 8.24 clearly details what it prohibits &lt;span&gt;â&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;modifications or changes to the âtopography or contour of &lt;span&gt;&lt;/span&gt;any &lt;/div&gt;
&lt;div&gt;drainage areas or easements, including swales, constructed on t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;Lots and other portions of the Property.â &lt;span&gt; It then provides an &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;exception in the latter half of the sentence (if a homeowner gets &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf10" data-page-no="10"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;15 &lt;/div&gt;
&lt;div&gt;written approval to make such a change), and then in the final &lt;/div&gt;
&lt;div&gt;sentence it details that, unless an owner obtains this approval, an &lt;/div&gt;
&lt;div&gt;owner is subject to sanctions.   &lt;/div&gt;
&lt;div&gt;Â¶ 28&lt;span&gt; &lt;/span&gt;&lt;span&gt;The final sentence does not change or expand the scope of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;section 8.24&lt;span&gt;.  I&lt;/span&gt;&lt;span&gt;ts reference to a âdrainage patternâ is merely a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;catchall for the prohibited topographical changes explicitly &lt;/div&gt;
&lt;div&gt;mentioned in the first sentence.  This is further evidenced by t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;final sentence&lt;span&gt;â&lt;/span&gt;s reference to the consent exception in the prior &lt;/div&gt;
&lt;div&gt;sentence.  It would be illogical for the final sentence to, in &lt;span&gt;&lt;/span&gt;effect, &lt;/div&gt;
&lt;div&gt;add a new type of prohibited action different to or broader than &lt;/div&gt;
&lt;div&gt;what the prior sentence detailed while still referencing the same &lt;/div&gt;
&lt;div&gt;consent exception from the prior sentence&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See EnCana Oil &amp;amp; Ga&lt;span&gt;&lt;/span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(USA), Inc. v. Miller&lt;span&gt;, 2017 COA 112, Â¶ 28 (contracts must not be &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;interpreted in a manner that leads to an absurd result); &lt;span&gt;see a&lt;span&gt;&lt;/span&gt;lso&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ringquist v. Wall Custom Homes, LLC&lt;span&gt;, 176 P.3d 846, 849 (&lt;span&gt;&lt;/span&gt;Colo. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;App. 2007) (contracts must be given effect as written, unless t&lt;span&gt;&lt;/span&gt;hey &lt;/div&gt;
&lt;div&gt;are voidable or âthe result would be an absurdityâ).  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 29&lt;span&gt; &lt;/span&gt;&lt;span&gt;The plain and common meaning of the terms in section 8.24 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;supports the interpretation that section 8.24 is concerned wi&lt;span&gt;&lt;/span&gt;th &lt;/div&gt;
&lt;div&gt;topographical changes only&lt;span&gt;, &lt;/span&gt;and such an interpretation does not &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf11" data-page-no="11"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;16 &lt;/div&gt;
&lt;div&gt;undermine the general purpose of the Declaration or render any &lt;/div&gt;
&lt;div&gt;other provision meaningless.  &lt;span&gt;See FD Ints.&lt;/span&gt;&lt;span&gt;, Â¶&lt;/span&gt; 23.  Indeed, this &lt;/div&gt;
&lt;div&gt;interpretation helps give effect to the broader scope of &lt;span&gt;&lt;/span&gt;section 8.23 &lt;/div&gt;
&lt;div&gt;and its prohibition on nuisances generally&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 30&lt;span&gt; &lt;/span&gt;&lt;span&gt;Therefore, the district court did not err by finding that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Trembley did not violate section 8.24 by moving the sump pump &lt;/div&gt;
&lt;div&gt;drain, because that section exclusively concerns topographical an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;contour changes.  &lt;span&gt;See id.&lt;/span&gt;   &lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;Exclusion of the Drone Survey &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 31&lt;span&gt; &lt;/span&gt;&lt;span&gt;Next, the Velgersdyks argue that the district court erred by &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;excluding, for lack of foundation, &lt;span&gt;a &lt;span&gt;â&lt;/span&gt;&lt;/span&gt;&lt;span&gt;stamped&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; land survey of &lt;/div&gt;
&lt;div&gt;Trembley &lt;span&gt;and Karbackaâs &lt;/span&gt;property taken via drone from evidence&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Additional Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 32&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Velgersdyks sought to introduce the drone survey because &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;their expert, Messner, relied on it in trial preparation to compare &lt;/div&gt;
&lt;div&gt;Trem&lt;span&gt;bley and Karbackaâs current property&lt;span&gt; with the grading records &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and &lt;span&gt;to&lt;/span&gt; detect changes.  The HOA objected, arguing that the report &lt;/div&gt;
&lt;div&gt;lacked foundation and was hearsay.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 33&lt;span&gt; &lt;/span&gt;&lt;span&gt;While counsel tried to lay additional foundation, Messner &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;testified that he did not conduct the survey himself.  Instead, he &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf12" data-page-no="12"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;17 &lt;/div&gt;
&lt;div&gt;requested the drone survey because he was unable to provide &lt;/div&gt;
&lt;div&gt;surveyors access to Trembley a&lt;span&gt;nd Karbackaâs&lt;/span&gt; property.  Messner &lt;/div&gt;
&lt;div&gt;did not observe the survey being conducted&lt;span&gt;, &lt;/span&gt;did not know more &lt;/div&gt;
&lt;div&gt;about drone surveys than a ânormal person,â had not worke&lt;span&gt;&lt;/span&gt;d with &lt;/div&gt;
&lt;div&gt;drone surveys personally, and was unfamiliar with the soft&lt;span&gt;&lt;/span&gt;ware &lt;/div&gt;
&lt;div&gt;used by the surveyor&lt;span&gt;.  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 34&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Velgersdyks chiefly argued that the survey should be &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;admitted as it was prepared by a land surveyor at the direction of &lt;span&gt;&lt;/span&gt;a &lt;/div&gt;
&lt;div&gt;professional engineer (Messner), while the HOA argued that&lt;span&gt;&lt;/span&gt; the &lt;/div&gt;
&lt;div&gt;report lacked reliability.  The HOA noted that â&lt;span&gt;[w]e&lt;span&gt;â&lt;/span&gt;&lt;span&gt;ve seen no &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;indication that it is reliable in this case.  No testimony to margin of &lt;/div&gt;
&lt;div&gt;error.  No testimony to the type of drone used.â  The district &lt;span&gt;&lt;/span&gt;court &lt;/div&gt;
&lt;div&gt;sustained the objection and refused to admit the drone survey&lt;span&gt;.  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 35&lt;span&gt; &lt;/span&gt;&lt;span&gt;The next day the Velgersdyks asked the court to reconsider, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;arguing that the drone report was a âstamped and certified s&lt;span&gt;&lt;/span&gt;urveyâ &lt;/div&gt;
&lt;div&gt;by a certified land surveyor&lt;span&gt;.  &lt;/span&gt;Thus, the Velgersdyks argued, CRE &lt;/div&gt;
&lt;div&gt;703 and two cases (a Colorado Court of Appeals case and &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;Colorado Supreme Court case that overruled it on other gr&lt;span&gt;&lt;/span&gt;ounds) &lt;span&gt;â&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Hamilton Enterprises, Ltd. v. South Park Land &amp;amp; Livestock Co&lt;span&gt;&lt;/span&gt;.&lt;span&gt;, 527 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.2d 886, 889 (Colo. App. 1974), and &lt;span&gt;South Park Land &amp;amp; Livest&lt;span&gt;&lt;/span&gt;ock &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf13" data-page-no="13"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;18 &lt;/div&gt;
&lt;div&gt;Co. v. Hamilton Enterprises, Ltd.&lt;span&gt;, 538 P.2d 444 (Colo. 1975) &lt;span&gt;â&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;supported its admission.  The district court reiterat&lt;span&gt;&lt;/span&gt;ed that âthe &lt;/div&gt;
&lt;div&gt;basis of [the court&lt;span&gt;â&lt;/span&gt;s] ruling was that there was not a foundation &lt;/div&gt;
&lt;div&gt;that the survey was reasonably reliable from the witness.â  &lt;span&gt;The &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Velgersdyks attempted to lay more foundation, with Messner &lt;/div&gt;
&lt;div&gt;testifying that it was common for civil engineers to rely on sta&lt;span&gt;&lt;/span&gt;mped &lt;/div&gt;
&lt;div&gt;land surveys as the stamp indicates reliability.  The HOA renewed &lt;/div&gt;
&lt;div&gt;its objection, noting that simply because a survey was stamped di&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;not render it admissible.  The court again refused to admit the &lt;/div&gt;
&lt;div&gt;drone survey&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;CRE 703 and the Stamped Survey &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 36&lt;span&gt; &lt;span&gt;âUnder CRE 402, all relevant evidence is admissible, except as &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;provided by constitution, rule, or statute, and irrelevant&lt;span&gt;&lt;/span&gt; evidence is &lt;/div&gt;
&lt;div&gt;not admissible.â  &lt;span&gt;People v. Ramirez&lt;span&gt;, 155 P.3d 371, 378 (Colo. &lt;span&gt;&lt;/span&gt;2007).  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;And &lt;span&gt;while relevant evidence is broadly admissible, âCRE 7&lt;span&gt;&lt;/span&gt;02 and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;CRE 403 temper that broad admissibility by giving cou&lt;span&gt;&lt;/span&gt;rts discretion &lt;/div&gt;
&lt;div&gt;to exclude expert testimony if it is unreliable, [or] irrelevant.&lt;span&gt;â &lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;span&gt;I&lt;span&gt;&lt;/span&gt;d&lt;span&gt;.  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;And a district court may exclude evidence if &lt;span&gt;â&lt;/span&gt;its probative value is &lt;/div&gt;
&lt;div&gt;substantially outweighed by the danger of unfair prejudice, &lt;/div&gt;
&lt;div&gt;confusion of the issues, or misleading the jury, or by consi&lt;span&gt;&lt;/span&gt;derations &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf14" data-page-no="14"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;19 &lt;/div&gt;
&lt;div&gt;of undue delay, waste of time, or needless presentation &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;cumulative evidence&lt;span&gt;.â &lt;/span&gt; CRE 403.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 37&lt;span&gt; &lt;span&gt;âWe review a trial courtâ&lt;span&gt;s determination of the admissibility of &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence, including expert testimony, for an abuse of discreti&lt;span&gt;&lt;/span&gt;on and &lt;/div&gt;
&lt;div&gt;review its application of a legal standard de novo.â  &lt;span&gt;Bocia&lt;span&gt;&lt;/span&gt;n v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Owners Ins. Co.&lt;span&gt;, 2020 COA 98, Â¶ 63.  The district court is granted &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;broad discretion over the admissibility of expert testimony, and we &lt;/div&gt;
&lt;div&gt;will not overturn its decision unless it was âmanifestly erroneous.â  &lt;/div&gt;
&lt;div&gt;Id. &lt;span&gt;at Â¶ 64;&lt;/span&gt; see also&lt;span&gt; &lt;/span&gt;People v. Huehn&lt;span&gt;, 53 P.3d 733, 736 (Colo. A&lt;span&gt;&lt;/span&gt;pp. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2002) (âWhether a proper foundation has been established is a &lt;/div&gt;
&lt;div&gt;matter within the sound discretion of the trial court, whose d&lt;span&gt;&lt;/span&gt;ecision &lt;/div&gt;
&lt;div&gt;will not be disturbed absent a clear abuse of that discretion.â). &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 38&lt;span&gt; &lt;span&gt;âUnder CRE 703, experts may testify as to facts and data that&lt;span&gt;&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;are not otherwise admissible in evidence if the facts and d&lt;span&gt;&lt;/span&gt;ata &lt;/div&gt;
&lt;div&gt;formed the basis of the expert&lt;span&gt;â&lt;/span&gt;s opinion and are of the type &lt;/div&gt;
&lt;div&gt;reasonably relied upon by experts in the field.â  &lt;span&gt;People in Interest&lt;span&gt;&lt;/span&gt; of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;M.M.&lt;span&gt;, 215 P.3d 1237, 1250 (Colo. App. 2009); &lt;span&gt;see also Quinta&lt;span&gt;&lt;/span&gt;na v. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;City of Westminster&lt;span&gt;, 56 P.3d 1193, 1199 (Colo. App. 20&lt;span&gt;&lt;/span&gt;02)&lt;span&gt;. &lt;/span&gt;&lt;span&gt; &lt;span&gt;âCRE &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;703 does not permit otherwise inadmissible facts or &lt;span&gt;&lt;/span&gt;data to be &lt;/div&gt;
&lt;div&gt;presented to the [fact finder] merely because the expert relied on &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf15" data-page-no="15"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;20 &lt;/div&gt;
&lt;div&gt;them. . . .  [I]f the facts and data are admitted, they are admi&lt;span&gt;&lt;/span&gt;ssible &lt;/div&gt;
&lt;div&gt;only to explain the witness&lt;span&gt;â&lt;/span&gt;s opinion, not for the truth of &lt;span&gt;&lt;/span&gt;the matter &lt;/div&gt;
&lt;div&gt;asserted.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  People v. Vigil&lt;span&gt;, 2024 COA 72, Â¶ 18.   &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 39&lt;span&gt; &lt;/span&gt;&lt;span&gt;The district court exclud&lt;span&gt;ed&lt;/span&gt; the drone survey because it lacke&lt;span&gt;&lt;/span&gt;d &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;adequate foundation and the HOA challenged its reliability.&lt;span&gt;  &lt;/span&gt;As a &lt;/div&gt;
&lt;div&gt;result, &lt;span&gt;because â&lt;/span&gt;the underlying basis for the expert opinions &lt;span&gt;&lt;/span&gt;and &lt;/div&gt;
&lt;div&gt;recommendations [was] not accepted as reliable by the court&lt;span&gt;[]&lt;/span&gt;, the &lt;/div&gt;
&lt;div&gt;expert&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s testimony itself [was] inadmissible.&lt;span&gt;â&lt;/span&gt;  &lt;span&gt;M.M.&lt;/span&gt;, 215 P.&lt;span&gt;&lt;/span&gt;3d at &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;1250.   &lt;/div&gt;
&lt;div&gt;Â¶ 40&lt;span&gt; &lt;span&gt;â&lt;span&gt;When determining whether expert testimony is reliable, the &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;trial court &lt;span&gt;â&lt;/span&gt;should apply a liberal standard that only req&lt;span&gt;&lt;/span&gt;uires proof &lt;/div&gt;
&lt;div&gt;that the underlying scientific principles are reasonably &lt;span&gt;&lt;/span&gt;reliable.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;In &lt;/div&gt;
&lt;div&gt;doing so, the court must consider the totality of the circum&lt;span&gt;&lt;/span&gt;stances &lt;/div&gt;
&lt;div&gt;and is not confined to any specific list of factors.â  &lt;span&gt;Bocia&lt;span&gt;&lt;/span&gt;n&lt;span&gt;, &lt;span&gt;Â¶ &lt;span&gt;66 &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(quoting &lt;span&gt;Kutzly v. People&lt;/span&gt;, 2019 CO 55, Â¶ 12).&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 41&lt;span&gt; &lt;/span&gt;&lt;span&gt;Here, the &lt;span&gt;Velgersdyksâ&lt;/span&gt; primary argument for the reliability of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the drone survey report was that it was a âstamped and ce&lt;span&gt;&lt;/span&gt;rtified &lt;/div&gt;
&lt;div&gt;surveyâ prepared by a &lt;span&gt;land surveyor.  The Velgersdyks primarily &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;point to &lt;span&gt;South Park Land&lt;/span&gt;, 538 P.2d 444, as support for the &lt;/div&gt;
&lt;div&gt;proposition that a certified survey is inherently reliable.  The&lt;span&gt;&lt;/span&gt;re, the &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf16" data-page-no="16"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;21 &lt;/div&gt;
&lt;div&gt;Colorado Supreme Court addressed the propriety of &lt;span&gt;a &lt;/span&gt;discharg&lt;span&gt;&lt;/span&gt;ed &lt;/div&gt;
&lt;div&gt;land surveying company&lt;span&gt;â&lt;/span&gt;s revocation of its certification for all &lt;/div&gt;
&lt;div&gt;survey work completed in a project&lt;span&gt;, &lt;/span&gt;along with its filing of &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;mechanic&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s lien on the remaining unpaid contract balance, once it&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;found out that some of the survey work had been modified&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;Id. &lt;/span&gt;at &lt;/div&gt;
&lt;div&gt;444-&lt;span&gt;45&lt;span&gt;. &lt;span&gt; The supreme court held that the revocation was an &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;improper remedy given that the statutory regime already p&lt;span&gt;&lt;/span&gt;rovided &lt;/div&gt;
&lt;div&gt;penalties for wrongful alterations of survey work.  &lt;span&gt;Id. &lt;/span&gt;at 445&lt;span&gt;.  &lt;/span&gt;In &lt;/div&gt;
&lt;div&gt;reaching this conclusion, the supreme court noted that â&lt;span&gt;[s]urveyors &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;are licensed to protect the public from unqualified work.  The &lt;/div&gt;
&lt;div&gt;required seal certifies expertise.  It also acknowledges the survey&lt;span&gt;&lt;/span&gt;or&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;responsibility to protect the public for any mistakes or negli&lt;span&gt;&lt;/span&gt;gence in &lt;/div&gt;
&lt;div&gt;the survey which bears the seal.&lt;span&gt;â &lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;span&gt;Id. &lt;/span&gt;(citations omitted).&lt;span&gt;  &lt;/span&gt;The &lt;/div&gt;
&lt;div&gt;statutory regime governing land surveyors in sections &lt;span&gt;12&lt;span&gt;-&lt;span&gt;120&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-301 &lt;/div&gt;
&lt;div&gt;through -&lt;span&gt;316&lt;/span&gt;, C.R.S. 2024, does not undermine these propositions.&lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 42&lt;span&gt; &lt;/span&gt;&lt;span&gt;But &lt;span&gt;South Park Land&lt;/span&gt; never specifically addressed whether land &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;surveys were inherently reliable for purposes of CRE 702 and &lt;span&gt;&lt;/span&gt;703&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Had the Velgersdyks brought &lt;span&gt;the surveyâs creator, &lt;/span&gt;Michael J. &lt;/div&gt;
&lt;div&gt;Dedecker,&lt;span&gt; &lt;/span&gt;&lt;span&gt;to lay a proper foundation, t&lt;span&gt;he&lt;/span&gt; district court&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s ruling &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;might well have been different.  But the Velgersdyks only called &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf17" data-page-no="17"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;22 &lt;/div&gt;
&lt;div&gt;Messner, who testified that it was common for civil enginee&lt;span&gt;&lt;/span&gt;rs to rely &lt;/div&gt;
&lt;div&gt;on stamped land surveys and could not specify if there were any &lt;/div&gt;
&lt;div&gt;differing practices for traditional surveys and aerial surveys. &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Messner also testified that he (1) had not observed the survey &lt;span&gt;&lt;/span&gt;being &lt;/div&gt;
&lt;div&gt;conducted; (2) was no more familiar with drone surveys t&lt;span&gt;&lt;/span&gt;han a lay &lt;/div&gt;
&lt;div&gt;person; &lt;span&gt;and (3) had not âworked wi&lt;/span&gt;&lt;span&gt;th&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; drone surveys personally.  As &lt;/div&gt;
&lt;div&gt;a result, Messner could not speak to the reliability of t&lt;span&gt;&lt;/span&gt;he drone &lt;/div&gt;
&lt;div&gt;survey &lt;span&gt;or&lt;/span&gt; the methodology behind its preparation&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 43&lt;span&gt; &lt;/span&gt;&lt;span&gt;The record supports the district court&lt;span&gt;â&lt;/span&gt;s determination that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;there was insufficient foundation to admit the drone survey&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Accordingly, we cannot say that the district court&lt;span&gt;â&lt;/span&gt;s decision was &lt;/div&gt;
&lt;div&gt;manifestly erroneous.  &lt;span&gt;See Bocian&lt;/span&gt;, Â¶ 63.   &lt;/div&gt;
&lt;div&gt;C.&lt;span&gt; &lt;span&gt;HOA Breach of Contract Claim &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 44&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Velgersdyks next argue that the district court erred by &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;failing to find that the HOA breached the Declaration by not &lt;/div&gt;
&lt;div&gt;enforcing section 8.23 and allowing Trembley and Karbacka to &lt;/div&gt;
&lt;div&gt;maintain a nuisance when they moved their sump pump drainage. &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;The district court found that the HOA âwas not infor&lt;span&gt;&lt;/span&gt;med of the &lt;/div&gt;
&lt;div&gt;decision by Defendants Trembley and Karbacka to move their s&lt;span&gt;&lt;/span&gt;ump &lt;/div&gt;
&lt;div&gt;pump discharge, did not authorize the same, and [the HO&lt;span&gt;&lt;/span&gt;A] did not &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf18" data-page-no="18"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;23 &lt;/div&gt;
&lt;div&gt;breach the terms of the Declaration by permitting a n&lt;span&gt;&lt;/span&gt;uisance under &lt;/div&gt;
&lt;div&gt;Section 8.23 of the Declaration.â  &lt;span&gt;The Velgersdyks contend that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;there is âsubstantial evidence,â however, that the HOA knew a&lt;span&gt;&lt;/span&gt;bout &lt;/div&gt;
&lt;div&gt;the drainage relocation and failed to act &lt;span&gt;â&lt;/span&gt; though the&lt;span&gt;ir&lt;/span&gt; contentions &lt;/div&gt;
&lt;div&gt;lack citations to specific parts of the record for support&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See &lt;/span&gt;C.A.R. &lt;/div&gt;
&lt;div&gt;28(a)(7)(B) (an appellant&lt;span&gt;â&lt;/span&gt;s brief must include citations to the parts &lt;/div&gt;
&lt;div&gt;of the record on which the appellant relies).   &lt;/div&gt;
&lt;div&gt;Â¶ 45&lt;span&gt; &lt;/span&gt;&lt;span&gt;We review the district court&lt;span&gt;â&lt;/span&gt;s factual determination that the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;HOA did not know of the nuisance for clear error and must defer t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;it&lt;span&gt; unless it has no support in the record.  &lt;span&gt;Shekarchian v. Ma&lt;span&gt;&lt;/span&gt;xx Auto &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Recovery, Inc.&lt;span&gt;, 2019 COA 60, Â¶ 28 (âWhere, as here, the &lt;span&gt;&lt;/span&gt;district &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court acts as the factfinder, we defer to its credibility &lt;/div&gt;
&lt;div&gt;determinations and will not disturb its findings of fact unless t&lt;span&gt;&lt;/span&gt;hey &lt;/div&gt;
&lt;div&gt;are clearly erroneous &lt;span&gt;â&lt;/span&gt; &lt;span&gt;that is, lack any support in the record.â&lt;/span&gt;&lt;span&gt;).&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;It &lt;/div&gt;
&lt;div&gt;is not our role to reweigh conflicting evidence.  &lt;span&gt;See IBC Denver II&lt;span&gt;&lt;/span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;LLC v. City of Wheat Ridge&lt;span&gt;, 183 P.3d 714, 719 (Colo. App. 2&lt;span&gt;&lt;/span&gt;008).   &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 46&lt;span&gt; &lt;/span&gt;&lt;span&gt;The record support&lt;span&gt;s &lt;/span&gt;the finding that the HOA was &lt;span&gt;un&lt;/span&gt;aware &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that Trembley relocated his sump pump drain&lt;span&gt;.  &lt;span&gt;He&lt;/span&gt;&lt;/span&gt; testified that he &lt;/div&gt;
&lt;div&gt;never told the HOA about moving his sump pump drainpi&lt;span&gt;&lt;/span&gt;pe, did &lt;/div&gt;
&lt;div&gt;not request approval, and did not notify Kellison about the change&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf19" data-page-no="19"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;24 &lt;/div&gt;
&lt;div&gt;Woods (an HOA manager with Kellison) testified that he was never &lt;/div&gt;
&lt;div&gt;told about Trembley &lt;span&gt;and Karbackaâs &lt;/span&gt;sump pump drain being &lt;/div&gt;
&lt;div&gt;relocated.  And the HOA board member across the street never &lt;/div&gt;
&lt;div&gt;specified that he knew the water on the street in front &lt;span&gt;&lt;/span&gt;of the &lt;/div&gt;
&lt;div&gt;Velgersdyksâ&lt;span&gt; house was the result of Trembley &lt;span&gt;and Karbackaâs &lt;/span&gt;drain &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;relocation.   &lt;/div&gt;
&lt;div&gt;Â¶ 47&lt;span&gt; &lt;/span&gt;&lt;span&gt;Because there is support in the record for the district court&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;findings, it did not clearly err.  &lt;span&gt;See Shekarchian&lt;/span&gt;, Â¶ 28. &lt;/div&gt;
&lt;div&gt;D.&lt;span&gt; &lt;span&gt;Attorney Fees and Costs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 48&lt;span&gt; &lt;/span&gt;&lt;span&gt;The &lt;span&gt;Velgersdyksâ&lt;/span&gt; last contention is that the district court erred &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;by failing to apportion its attorney fees award &lt;span&gt;by&lt;/span&gt; distinguishing &lt;/div&gt;
&lt;div&gt;between their breach of contract claims and tort claims&lt;span&gt;.  &lt;/span&gt;The HOA&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;in turn, requests appellate attorney fees and costs&lt;span&gt;.  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 49&lt;span&gt; &lt;span&gt;â[W]&lt;span&gt;e review a court&lt;/span&gt;â&lt;span&gt;s award of costs for an abuse of &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;discretion.  But we review the district court&lt;span&gt;â&lt;/span&gt;s legal conclusions &lt;/div&gt;
&lt;div&gt;forming the basis for that decision de novo.&lt;span&gt;â &lt;/span&gt;&lt;span&gt; Far Horizons Fa&lt;span&gt;&lt;/span&gt;rm, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;LLC v. Flying Dutchman Condo. Ass&lt;span&gt;â&lt;/span&gt;&lt;span&gt;n&lt;/span&gt;&lt;span&gt;, 2023 COA 99, Â¶ &lt;span&gt;&lt;/span&gt;34 (citation &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;omitted)&lt;span&gt;. &lt;span&gt;  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 50&lt;span&gt; &lt;span&gt;It is well established that âunder the American Rule, absent a &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;statutory or contract provision providing for the recovery &lt;span&gt;&lt;/span&gt;of attorney &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1a" data-page-no="1a"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTPVKK2D5MG&amp;amp;Expires=1728612194&amp;amp;Signature=5rGdTJ3s1VVEj07wkjZSjlVG6Sg%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjECgaCXVzLWVhc3QtMSJGMEQCIByR36y1btH3K%2Fekud%2BdxJHcEecWT7eUvAWBHwYYgusJAiAtqAva948dM1X16OjvEgJhi5ZnvQiAGhpnkswdl0FsLiq6BQiB%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIMtc%2FJsybW0Q3JFJ8fKo4F45bPXoU7Wo74oIulLYhM9G4%2B0vVRyFQxvR%2FZIQ5J6AP3twoQSZCSUVSuXh571VEzr0etZoRA%2FvdJGWggmpijXHvwG2LZXIpz2KvghRd6%2BcVsZhlikuSqi%2BeqKlPoctF3Ef6%2FsnRAFhXRkkRIjTTZQbAHhV8IUJguQNT%2B7MM%2B4%2FqU8eMJirlaZO1RUfuXjei8nNz7aynWTWIBB8XhR%2BvcqKzruyoTPVGjvD6WT4otxn9YRiuFUM%2FHFbLqXVXpff%2Bk9C3wGoYkUVlmziGgIsw7iBT3rgAr7BtfadD35%2Bvp8nLkX8EqlfzuogUjUnGdURxIZnR2OVMXAQdZgIHWcuXXXpFWde3FHyaCs%2Ftr%2B%2BCDM33qDMY9aKC1VLuxqawi8wkskwfBnJFalWfIiGEoQszRY4j95Y2Wcw%2FtmpqB%2FPs0DheBVgifdq236K2EonuWpa6gi0b6s%2FGNO%2BZyRat3JcY1acBzxCB61ZgL3Oia3w%2FV3r2f%2F6oN9xhU0i%2BkMbW%2FDTWM%2F1TtF2mXGlUOagomuTDAOyzNhKWY%2BXgW2oOkgN%2FIzv5cc3UzoE9RhB2hFxpmyzYGtSCBcZRz%2BvJ3ZRmKSuwEq73M7wIB4pp4Pky8C9kines9gSXzvQ0pPfWx1E5feQ6VEB%2FGDsdo05cZKnWFa6Kxtosa%2Boo0NCzlyCIhLFEvidI91vDYT0YG%2FwoUu1z9OZUgLxG19rXL9fY%2F2sqvCupJ%2BmT1kbujNe7MpBXY4cJY0adH9Q%2BoilOOcBlRVdPyG%2FX6aATHXVUv5nrXuodbpJDEkMyyJZdFo%2F%2FjiCMsgDXhVbTn0OX2%2FL%2FPTwP%2BhYq6HdxD9Pe6CmgLQxQZS%2B1P3gelabVBL4HtHQueiULuKbg4MM7UobgGOrIBErRLH0bcDH5K%2FatVXBpqL%2FobpK9uwtl2o%2F4F8D9%2FxKM7CQbzy8UuTsjnshi8yQnJlIo%2BO57O0sHw3h1DfDHX40h9vMwFGtq2ifecRWdq7HmkgarJ1BdsWrylmWNj8BdhVnV5IZE9KdCFmiw%2BsdBEYrZVOZskuzIOd%2BQlFKYr%2BJuEdSHGFZJyEdnjKKre4YZvdckuYxOqP3d46AjauYe%2BICnPV1GjtWxahR9e610VoIj8JA%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;25 &lt;/div&gt;
&lt;div&gt;fees, each party is responsible for paying their own attorney&lt;span&gt;&lt;/span&gt;s.â&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Mulberry Frontage Metro. Dist. v. Sunstate Equip. Co.&lt;span&gt;, 2023 CO&lt;span&gt;&lt;/span&gt;A 66, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 27.  &lt;span&gt;Th&lt;/span&gt;e district court found that section 38-33.3-123(1)(c), C.R.&lt;span&gt;&lt;/span&gt;S. &lt;/div&gt;
&lt;div&gt;2023,&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; of the Colorado Common Interest Ownership Act (CCIOA) &lt;/div&gt;
&lt;div&gt;permitted awarding the HOA attorney fees and costs.  &lt;span&gt;&lt;/span&gt;That statute &lt;/div&gt;
&lt;div&gt;provides: â&lt;span&gt;In any civil action to enforce or defend the provision&lt;span&gt;&lt;/span&gt;s of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;this article or of the declaration, bylaws, articles, or rules an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;regulations, the court shall award reasonable attorney fees, &lt;span&gt;&lt;/span&gt;costs, &lt;/div&gt;
&lt;div&gt;and costs of collection to the prevailing party.&lt;span&gt;â&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 51&lt;span&gt; &lt;/span&gt;&lt;span&gt;At the district court&lt;span&gt;, &lt;/span&gt;and on appeal,&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;5&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; the Velgersdyks contend &lt;/div&gt;
&lt;div&gt;that the district court erred by not apportioning the HOA&lt;span&gt;â&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; Effective August 7, 2024, section 38-&lt;span&gt;33&lt;span&gt;.3&lt;/span&gt;&lt;/span&gt;-123(1)(c), C.R.S. 2024, &lt;/div&gt;
&lt;div&gt;was amended to add subsections (1)(c)(I) and (1)(c)(II), which &lt;/div&gt;
&lt;div&gt;substantially limit an award of attorney fees for an association &lt;/div&gt;
&lt;div&gt;unless the property owner&lt;span&gt;â&lt;/span&gt;s breach of a covenant or bylaws w&lt;span&gt;&lt;/span&gt;as the &lt;/div&gt;
&lt;div&gt;result of a willful failure to comply.  &lt;span&gt;See &lt;/span&gt;Ch. 422, sec. 1, Â§ 38-33.3-&lt;/div&gt;
&lt;div&gt;123, 2024 Colo. Sess. Laws 2881&lt;span&gt;.  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; A division of this court noted in &lt;span&gt;Far Horizons Farm, LLC v. Flyi&lt;span&gt;&lt;/span&gt;ng &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Dutchman Condominium Ass&lt;span&gt;â&lt;/span&gt;&lt;span&gt;n&lt;/span&gt;&lt;span&gt; that its interpretation of section &lt;span&gt;&lt;/span&gt;38-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;33.3-123(1)(c), C.R.S. 2023 &lt;span&gt;â&lt;/span&gt; that the district court is required t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;determine who is the prevailing party as a whole and not on a &lt;/div&gt;
&lt;div&gt;claim-&lt;span&gt;by&lt;/span&gt;&lt;span&gt;-claim basis &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; did not necessarily mean that the &lt;span&gt;&lt;/span&gt;statute &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;allowed for fee awards unrelated to CCIOA claims, but left&lt;span&gt;&lt;/span&gt; the issue &lt;/div&gt;
&lt;div&gt;unresolved&lt;span&gt;.  &lt;span&gt;See &lt;span&gt;2023 COA 99, Â¶Â¶ &lt;span&gt;28&lt;/span&gt;-29.  &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;5&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; The Velgersdyks &lt;span&gt;do not mention âblock billingâ in &lt;/span&gt;their opening &lt;/div&gt;
&lt;div&gt;brief on appeal, but their apportionment argument &lt;span&gt;is&lt;/span&gt; consistent &lt;/div&gt;
&lt;div&gt;with this argument at the district court.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf1a" data-dest-detail='[26,"XYZ",69,334,null]'&gt;&lt;div style="border-style:none;position:absolute;left:139.213889px;bottom:751.997778px;width:10.090000px;height:32.860000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;&lt;a href="#pf1a" data-dest-detail='[26,"XYZ",69,236,null]'&gt;&lt;div style="border-style:none;position:absolute;left:494.448889px;bottom:542.007778px;width:10.090000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;&lt;a href="#pf1a" data-dest-detail='[26,"XYZ",69,121,null]'&gt;&lt;div style="border-style:none;position:absolute;left:448.525556px;bottom:500.007222px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;26 &lt;/div&gt;
&lt;div&gt;requested fees by claim and that the HOA &lt;span&gt;engaged in âblock billingâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;by lumping together its time spent on claims that are not &lt;/div&gt;
&lt;div&gt;recoverable under CCIOA along with recoverable claims. &lt;span&gt;&lt;/span&gt; The &lt;/div&gt;
&lt;div&gt;district court found that the âseparate claims asserted by &lt;span&gt;&lt;/span&gt;Plaintiffs &lt;/div&gt;
&lt;div&gt;were essentially based upon the same set of operative facts &lt;span&gt;&lt;/span&gt;to &lt;/div&gt;
&lt;div&gt;establish liability. . . .  [Thus] the claims were substant&lt;span&gt;&lt;/span&gt;ially &lt;/div&gt;
&lt;div&gt;interrelated, dependent upon the same nexus of operative facts,&lt;span&gt;&lt;/span&gt; and &lt;/div&gt;
&lt;div&gt;. . . an apportionment of fees is not required or appropriat&lt;span&gt;e.â  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 52&lt;span&gt; &lt;/span&gt;&lt;span&gt;Block billing is not prohibited in Colorado, but district courts &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;have âdiscretion to reduce the hours billed based on &lt;span&gt;&lt;/span&gt;block billing if &lt;/div&gt;
&lt;div&gt;the court is unable to determine whether the amount of &lt;span&gt;&lt;/span&gt;time spent &lt;/div&gt;
&lt;div&gt;on various tasks was reasonable.â  &lt;span&gt;Payan v. Nash Finch Co.&lt;span&gt;, 2012 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;COA 135M, Â¶ 29.  The Colorado Supreme Court and divisions &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;this court have favorably looked to &lt;span&gt;Hensley v. Eckerhart&lt;/span&gt;, 461 U.S.&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;424, 434-35 (1983), for issues involving fees and claim &lt;/div&gt;
&lt;div&gt;apportionment&lt;span&gt;.  &lt;span&gt;See Rocky Mountain Festivals, Inc. v. Parsons Corp.&lt;/span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;242 P.3d 1067, 1073 (Colo. 2010); &lt;span&gt;Ra&lt;/span&gt;&lt;span&gt;vensta&lt;span&gt;&lt;/span&gt;r LLC v. One Ski Hill &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Place LLC&lt;span&gt;, 2016 COA 11, Â¶ 49, &lt;/span&gt;&lt;span&gt;aff&lt;span&gt;â&lt;/span&gt;&lt;span&gt;d&lt;/span&gt;&lt;/span&gt;&lt;span&gt;, 2017 CO 83&lt;span&gt;; &lt;/span&gt;&lt;/span&gt;&lt;span&gt;Payan&lt;/span&gt;&lt;span&gt;, Â¶ 34.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;In &lt;span&gt;Hensley&lt;/span&gt;, the United States Supreme Court &lt;/div&gt;
&lt;div&gt;considered whether an award of attorneys&lt;span&gt;â&lt;/span&gt; fees &lt;/div&gt;
&lt;div&gt;under a fee-shifting statute could be levied &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;27 &lt;/div&gt;
&lt;div&gt;when the plaintiff was successful in some &lt;/div&gt;
&lt;div&gt;claims and not in others.  The Court &lt;/div&gt;
&lt;div&gt;determined that, where a plaintiff had brought &lt;/div&gt;
&lt;div&gt;multiple claims âinvolv[ing] a common core of &lt;/div&gt;
&lt;div&gt;factsâ or âbased on related legal theories,â &lt;/div&gt;
&lt;div&gt;counsel&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s efforts on an individual claim could &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;not be distinguished from work on the whole of &lt;/div&gt;
&lt;div&gt;the litigation, and thus a reduction in the fee &lt;/div&gt;
&lt;div&gt;award for work done on unsuccessful claims &lt;/div&gt;
&lt;div&gt;would be inappropriate.  On the other hand, &lt;/div&gt;
&lt;div&gt;where the plaintiff presented âdist&lt;span&gt;inctly &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;different claims for relief that [were] based on &lt;/div&gt;
&lt;div&gt;different facts and legal theories,â the litigation &lt;/div&gt;
&lt;div&gt;could be justly conceived as a âseries of &lt;/div&gt;
&lt;div&gt;discrete claimsâ that had been âraised in &lt;/div&gt;
&lt;div&gt;separate lawsuits,â and so a fee award that &lt;/div&gt;
&lt;div&gt;contemplated only those claims on which the &lt;/div&gt;
&lt;div&gt;plaintiff had succeeded was both practicable &lt;/div&gt;
&lt;div&gt;and necessary to affect the purpose of the fee-&lt;/div&gt;
&lt;div&gt;shifting statute. &lt;/div&gt;
&lt;div&gt;Rocky Mountain Festivals&lt;span&gt;, 242 P.3d at 1073 (citing and quoting &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Hensley&lt;span&gt;, &lt;span&gt;461 U.S. at 434-35).   &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 53&lt;span&gt; &lt;/span&gt;&lt;span&gt;Under the &lt;span&gt;Hensley&lt;/span&gt; approach, where a fee-shifting statute &lt;span&gt;â&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;here CCIOA &lt;span&gt;â&lt;/span&gt; allows for attorney fees for some claims but not &lt;/div&gt;
&lt;div&gt;others, attorney fees need not be apportioned among &lt;span&gt;&lt;/span&gt;the claims if &lt;/div&gt;
&lt;div&gt;all of the claims revolve around a common core of facts or related &lt;/div&gt;
&lt;div&gt;legal theories to the extent they cannot reasonably be separate&lt;span&gt;&lt;/span&gt;d&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;See Rocky Mountain Festivals&lt;span&gt;, 242 P.3d at 1073-&lt;span&gt;74&lt;/span&gt;&lt;span&gt;.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;The fact finder &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;is in the best position to make &lt;span&gt;this determination, as âwhet&lt;span&gt;&lt;/span&gt;her &lt;/span&gt;
&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;28 &lt;/div&gt;
&lt;div&gt;claims are interrelated or segregable is inherently sensitive to &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;facts of both the case at bar and those of the underlying dispute.â &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Id. &lt;span&gt;at 1074.   &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 54&lt;span&gt; &lt;/span&gt;&lt;span&gt;Here, the &lt;span&gt;Velgersdyksâ&lt;/span&gt; claims against the HOA were for (1) &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;negligence &lt;span&gt;for&lt;/span&gt; failing to maintain Outlot B properly and prevent &lt;/div&gt;
&lt;div&gt;excess drainage; (2) trespass and nuisance for failing to prevent&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;drainage from Outlot B onto the property; (3) breach of contract &lt;span&gt;&lt;/span&gt;for &lt;/div&gt;
&lt;div&gt;failing to maintain Outlot B and failing to prevent Trembley and &lt;/div&gt;
&lt;div&gt;Karbackaâs&lt;span&gt; drainage and grading modifications; and (4) injunctive &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;relief.  These claims all surround a common core of operative f&lt;span&gt;&lt;/span&gt;acts &lt;/div&gt;
&lt;div&gt;and boil down to two key issues &lt;span&gt;â&lt;/span&gt; what was the source of the &lt;/div&gt;
&lt;div&gt;alleged extra water entering the &lt;span&gt;Velgersdyksâ&lt;/span&gt; property, and who was &lt;/div&gt;
&lt;div&gt;responsible?  The factual research the HOA undertook to defend &lt;/div&gt;
&lt;div&gt;against the &lt;span&gt;Velgersdyksâ&lt;/span&gt; tort&lt;span&gt;, &lt;/span&gt;breach of contract, and injunctive &lt;/div&gt;
&lt;div&gt;relief claims relating to Outlot B and Trembley &lt;span&gt;and Karbackaâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;drainage substantially overlapped.  I&lt;span&gt;t &lt;/span&gt;was reasonable for the district &lt;/div&gt;
&lt;div&gt;court to determine that work on each individual claim was &lt;/div&gt;
&lt;div&gt;in&lt;span&gt;distinguishable from the others and the whole of the litigation. &lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;See id.&lt;span&gt; at 1073-74. &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTPVKK2D5MG&amp;amp;Expires=1728612194&amp;amp;Signature=5rGdTJ3s1VVEj07wkjZSjlVG6Sg%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjECgaCXVzLWVhc3QtMSJGMEQCIByR36y1btH3K%2Fekud%2BdxJHcEecWT7eUvAWBHwYYgusJAiAtqAva948dM1X16OjvEgJhi5ZnvQiAGhpnkswdl0FsLiq6BQiB%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIMtc%2FJsybW0Q3JFJ8fKo4F45bPXoU7Wo74oIulLYhM9G4%2B0vVRyFQxvR%2FZIQ5J6AP3twoQSZCSUVSuXh571VEzr0etZoRA%2FvdJGWggmpijXHvwG2LZXIpz2KvghRd6%2BcVsZhlikuSqi%2BeqKlPoctF3Ef6%2FsnRAFhXRkkRIjTTZQbAHhV8IUJguQNT%2B7MM%2B4%2FqU8eMJirlaZO1RUfuXjei8nNz7aynWTWIBB8XhR%2BvcqKzruyoTPVGjvD6WT4otxn9YRiuFUM%2FHFbLqXVXpff%2Bk9C3wGoYkUVlmziGgIsw7iBT3rgAr7BtfadD35%2Bvp8nLkX8EqlfzuogUjUnGdURxIZnR2OVMXAQdZgIHWcuXXXpFWde3FHyaCs%2Ftr%2B%2BCDM33qDMY9aKC1VLuxqawi8wkskwfBnJFalWfIiGEoQszRY4j95Y2Wcw%2FtmpqB%2FPs0DheBVgifdq236K2EonuWpa6gi0b6s%2FGNO%2BZyRat3JcY1acBzxCB61ZgL3Oia3w%2FV3r2f%2F6oN9xhU0i%2BkMbW%2FDTWM%2F1TtF2mXGlUOagomuTDAOyzNhKWY%2BXgW2oOkgN%2FIzv5cc3UzoE9RhB2hFxpmyzYGtSCBcZRz%2BvJ3ZRmKSuwEq73M7wIB4pp4Pky8C9kines9gSXzvQ0pPfWx1E5feQ6VEB%2FGDsdo05cZKnWFa6Kxtosa%2Boo0NCzlyCIhLFEvidI91vDYT0YG%2FwoUu1z9OZUgLxG19rXL9fY%2F2sqvCupJ%2BmT1kbujNe7MpBXY4cJY0adH9Q%2BoilOOcBlRVdPyG%2FX6aATHXVUv5nrXuodbpJDEkMyyJZdFo%2F%2FjiCMsgDXhVbTn0OX2%2FL%2FPTwP%2BhYq6HdxD9Pe6CmgLQxQZS%2B1P3gelabVBL4HtHQueiULuKbg4MM7UobgGOrIBErRLH0bcDH5K%2FatVXBpqL%2FobpK9uwtl2o%2F4F8D9%2FxKM7CQbzy8UuTsjnshi8yQnJlIo%2BO57O0sHw3h1DfDHX40h9vMwFGtq2ifecRWdq7HmkgarJ1BdsWrylmWNj8BdhVnV5IZE9KdCFmiw%2BsdBEYrZVOZskuzIOd%2BQlFKYr%2BJuEdSHGFZJyEdnjKKre4YZvdckuYxOqP3d46AjauYe%2BICnPV1GjtWxahR9e610VoIj8JA%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;29 &lt;/div&gt;
&lt;div&gt;Â¶ 55&lt;span&gt; &lt;/span&gt;&lt;span&gt;The record supports the district court&lt;span&gt;â&lt;/span&gt;s conclusion that the &lt;/span&gt;
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&lt;div&gt;Velgersdyksâ&lt;span&gt; &lt;span&gt;âclaims were substantially interrelated, dependent&lt;span&gt;&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
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&lt;div&gt;upon the same nexus of operative facts.&lt;span&gt;â &lt;/span&gt; Thus, it did not abuse its &lt;/div&gt;
&lt;div&gt;discretion by declining to reduce the HOA&lt;span&gt;â&lt;/span&gt;s attorney fees despite the &lt;/div&gt;
&lt;div&gt;HOA not apportioning its requested fees by claim.  &lt;span&gt;See Far Hori&lt;span&gt;&lt;/span&gt;zons &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Farm&lt;span&gt;, Â¶&lt;span&gt; 34; &lt;span&gt;see also&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;Payan&lt;span&gt;, Â¶ 29.   &lt;/span&gt;
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&lt;div&gt;Â¶ 56&lt;span&gt; &lt;/span&gt;&lt;span&gt;Finally, the HOA requests appellate attorney fees pursuant to &lt;/span&gt;
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&lt;div&gt;section &lt;span&gt;38&lt;/span&gt;-33.3-123(1)(c), C.R.S. 2023, C.A.R. 39(a)(2), and C.&lt;span&gt;&lt;/span&gt;A.R. &lt;/div&gt;
&lt;div&gt;39.1.&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;6&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;  &lt;span&gt;See Far Horizons Farm&lt;span&gt;,&lt;/span&gt; &lt;span&gt;Â¶ 39 (the prevailing party as a whole &lt;/span&gt;&lt;/span&gt;
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&lt;div&gt;may recover reasonable appellate attorney fees and costs inc&lt;span&gt;&lt;/span&gt;urred &lt;/div&gt;
&lt;div&gt;in litigating claims arising under CCIOA).&lt;span&gt;  &lt;/span&gt;Because we affirm the &lt;/div&gt;
&lt;div&gt;district courtâs judgment&lt;span&gt;, the HOA is the prevailing party on appeal &lt;/span&gt;
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&lt;div&gt;and it is entitled to appellate attorney fees.  &lt;span&gt;See &lt;/span&gt;C.A.R. 39(a)(2); &lt;/div&gt;
&lt;div&gt;Â§ &lt;span&gt;38&lt;/span&gt;-33.3-123(1)(c), C.R.S. 2023.  We exercise our discretion &lt;/div&gt;
&lt;div&gt;pursuant to C.A.R. 39.1 and remand the case to the district court &lt;span&gt;&lt;/span&gt;to &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;6&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; Because the amendments to section 38-33.3-123(1)(c) apply to &lt;/div&gt;
&lt;div&gt;âdebts accrued on or after the applicable effective date of this actâ &lt;/div&gt;
&lt;div&gt;on August 7, 2024, the amendments do not apply to any att&lt;span&gt;&lt;/span&gt;orney &lt;/div&gt;
&lt;div&gt;fees the HOA accrued before August 7, 2024.&lt;span&gt;  &lt;/span&gt;Sec. 9, 2024 Colo. &lt;/div&gt;
&lt;div&gt;Sess. Laws at 2887.   &lt;/div&gt;
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&lt;div&gt;30 &lt;/div&gt;
&lt;div&gt;determine an award of reasonable appellate attorney fees in &lt;/div&gt;
&lt;div&gt;addition to its award of attorney fees and costs incurred below.  &lt;/div&gt;
&lt;div&gt;IV.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Disposition &lt;/span&gt;
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&lt;div&gt;Â¶ 57&lt;span&gt; &lt;/span&gt;&lt;span&gt;The district court&lt;span&gt;â&lt;/span&gt;s judgment is affirmed, and we remand the &lt;/span&gt;
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&lt;div&gt;case &lt;span&gt;so&lt;/span&gt;&lt;span&gt; the district court may determine an award of appellate &lt;/span&gt;
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&lt;div&gt;attorney fees in accordance with this opinion. &lt;/div&gt;
&lt;div&gt;JUDGE JOHNSON and JUDGE SCHOCK concur. &lt;/div&gt;
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